                   Case 1:25-cv-00604            Document 1-8        Filed 03/01/25   Page 1 of 2




                                                    District of Columbia
Maiker Alejandro Espinoza Escalona; Jackson
Manuel Villa Wilhelm; Jorge Alberto Castillo Cerrano;
Janfrank Berrios Laguna; Alejandro Jose Pulido
Castellano; Josue De Jesus Torcati Sebrian; Walter
Estiver Salazar; Hijran Malik; Ghulam Muhammad;
and MD Rayhan.




                                            SUMMONS IN A CIVIL ACTION
  Case 1:25-cv-00604           Document 1-8         Filed 03/01/25       Page 2 of 2




                                PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))
